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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New Swift Air Holdings, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  5200 N.W. 36th Street
                                  Miami, FL 33166
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    New Swift Air Holdings, L.L.C.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4812

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    New Swift Air Holdings, L.L.C.                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Exhibit 1 attached                                       Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                               25,001-50,000
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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Debtor   New Swift Air Holdings, L.L.C.                                              Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    New Swift Air Holdings, L.L.C.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2023
                                                  MM / DD / YYYY


                             X /s/ Kevin Nystrom                                                          Kevin Nystrom
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X /s/ Paul Steven Singerman                                                   Date September 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




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                                               EXHIBIT 1 to Voluntary Petitions1
    Debtor Name                        EIN                   Date Filed            Case                District
                                                                                   Number
    AeroTech Miami Inc. d/b/a          XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    iAero Tech                                                                                         Southern District of Florida
                                                                                                       (Miami Division)
    AeroThrust Delta PBH,              XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    LLC                                                                                                Southern District of Florida
                                                                                                       (Miami Division)
    AeroThrust Holdings                XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    Aircraft and Engine                                                                                Southern District of Florida
    Leasing, LLC                                                                                       (Miami Division)

    AeroThrust Holdings                XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    Leasing, LLC                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero 11 Investments LLC           XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero 11B Investments LLC XX-XXXXXXX                        9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero Group Bidco Inc.             XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero Group Holdco 6 LLC           XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero Group Intermediate           XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    Inc.                                                                                               Southern District of Florida
                                                                                                       (Miami Division)
    iAero Group Parent LLC             XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    iAero Thrust Engine Test           XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
    Center, LLC                                                                                        Southern District of Florida
                                                                                                       (Miami Division)
    iAero Thrust LLC                   XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)
    JAM Aerospace Parts, LLC           XX-XXXXXXX               9/19/2023          Pending             U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Miami Division)


1
 For a detailed description of the relationship amongst the Debtors listed herein, please refer to the Declaration of Kevin Nystrom in Support
of Chapter 11 Petitions and First Day Pleadings.
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 Debtor Name                 EIN           Date Filed         Case           District
                                                              Number
 New Swift Air Holdings,     XX-XXXXXXX      9/19/2023        Pending        U.S. Bankruptcy Court,
 L.L.C.                                                                      Southern District of Florida
                                                                             (Miami Division)
 Swift Air, L.L.C. d/b/a     XX-XXXXXXX      9/19/2023        Pending        U.S. Bankruptcy Court,
 iAero Airways                                                               Southern District of Florida
                                                                             (Miami Division)
 Swift Air Travel, LLC       XX-XXXXXXX      9/19/2023        Pending        U.S. Bankruptcy Court,
                                                                             Southern District of Florida
                                                                             (Miami Division)




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                       OMNIBUS ACTION BY WRITTEN CONSENT
                                      FOR

                               iAero Group Holdco 6 LLC
                                 iAero Group Parent LLC
                             iAero Group Intermediate Inc.
                                  iAero Group Bidco Inc.
                         AeroTech Miami Inc. d/b/a iAero Tech
                             New Swift Air Holdings, L.L.C.
                          Swift Air, L.L.C. d/b/a iAero Airways
                                   Swift Air Travel, LLC
                                    iAero Thrust LLC
                           AeroThrust Holdings Leasing, LLC
                         iAero Thrust Engine Test Center, LLC
                               JAM Aerospace Parts, LLC
                              AeroThrust Delta PBH, LLC
                  AeroThrust Holdings Aircraft and Engine Leasing, LLC
                                iAero 11 Investments LLC
                              iAero 11B Investments LLC

                                      September 19, 2023

        The undersigned, being all of the members of the Special Committee, the board of
managers and the board of directors (as applicable, the “Governing Body”) of the applicable entity
set forth on Exhibit A attached hereto (each, a “Company”, and collectively, the “Companies”),
hereby adopt the following resolutions by this omnibus action by written consent (this “Written
Consent”) without a meeting pursuant to (as applicable) the bylaws or the limited liability company
agreements (in each case as amended or amended and restated) of each Company and the laws of
the state of formation of each Company as set forth next to each Company’s name on Exhibit A:

        WHEREAS, the Governing Body has reviewed and considered the operational condition
of the Companies and the business of the Companies on the date hereof, including the historical
performance of the Companies, the assets of the Companies, the current and long-term liabilities
of the Companies, the liquidity of the Companies, the strategic alternatives available to the
Companies, and the impact of the foregoing on the business, creditors and other parties in interest
of the Companies; and

        WHEREAS, the Governing Body has received, reviewed, and considered entering into the
Restructuring Support Agreement substantially in the form made available to the Governing Body
(the “Restructuring Support Agreement”) by and among the Company Parties and the Consenting
Stakeholders (as defined therein) and deems it is in the best interests of the Companies, their
creditors, employees, and other parties in interest that the Companies enter into the Restructuring
Support Agreement; and

        WHEREAS, the Governing Body has received, reviewed and considered the
recommendations of the legal and financial advisors of the Companies as to the relative risks and
benefits of seeking relief under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101

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et seq., the “Bankruptcy Code”), and the Governing Body has had an opportunity to consult with
the legal and financial advisors of the Companies and has considered each of the strategic
alternatives available to the Companies; and

        WHEREAS, the Governing Body has received, reviewed, and considered entering into a
commitment for debtor-in-possession financing on or about September 19, 2023, for a senior
secured super priority delayed draw debtor-in-possession financing credit facility in an aggregate
amount up to $22,503,876 (the “DIP Facility”), the Governing Body has received and reviewed
the credit agreement and other documents relating to the DIP Facility (collectively, the “DIP Credit
Agreement”) with the lenders set forth therein, and the Governing Body agrees that the Companies
should obtain the benefits of the DIP Facility and desire that the Companies enter into the DIP
Credit Agreement; and

       WHEREAS, in the business judgment of the Governing Body, it is in the best interests of
the Companies, their creditors, employees, and other parties in interest that a petition be filed by
each Company seeking relief under the provisions of the Bankruptcy Code; and

        WHEREAS, the Governing Body desires that the Companies file or cause to be filed
voluntary petitions for relief under chapter 11 of the Bankruptcy Code (collectively, the
“Petitions”) and the following resolutions are hereby adopted by this Written Consent:

  I.   Restructuring Support Agreement

       IT IS THEREFORE RESOLVED, that the Governing Body hereby approves and ratifies
the form, terms and provisions of the Restructuring Support Agreement and the Companies’
execution and delivery of the Restructuring Support Agreement and the Companies’ performance
thereunder; and it is further

        RESOLVED, that the Governing Body hereby authorizes the members of the Governing
Body, the officers of the Companies, and the directors and managers of the Companies, as
applicable (collectively, the “Authorized Officers”), and each of them, acting alone or in any
combination, on behalf of the Companies to execute and deliver to the appropriate parties and to
perform each Company’s obligations under the Restructuring Support Agreement, including, but
not limited to, the execution, delivery and performance of any agreements, documents, instruments
or certificates constituting exhibits, annexes or schedules to, or required to be executed pursuant
to, the Restructuring Support Agreement, in each case, with such changes therein or additions
thereto as the Authorized Officer executing the same shall approve and the execution thereof by
any such Authorized Officer to be conclusive evidence of such approval of such changes or
additions; and it is further

 II.   Chapter 11 Cases

       RESOLVED, that the Governing Body hereby approves the filing of Petitions on behalf of
the Companies in the United States Bankruptcy Court for the Southern District of Florida – Miami
Division (collectively, the “Chapter 11 Cases”) on or about September 19, 2023; and it is further

       RESOLVED, that appropriate employees and consultants of the Companies are hereby
authorized, directed and empowered (i) to file the Petitions for the Companies, (ii) to commence

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the Chapter 11 Cases, and (iii) to execute and deliver any and all documents and to perform any
and all such acts as are reasonable, advisable, expedient, convenient, proper and necessary to effect
any of the foregoing; and it is further

         RESOLVED, that the Authorized Officers, and each of them, acting alone or in any
combination, on behalf of and in the name of the Companies, be, and hereby are, authorized,
directed and empowered, to prepare, execute and/or verify and to cause to be filed, and any other
applicable officer, be and each hereby is, authorized to attest to, any and all documents required
by, necessary or appropriate to, the filing and administration of the Chapter 11 Cases, including
but not limited to the Petitions, as well as all other ancillary documents (including, but not limited
to, petitions, schedules, statements, lists, motions, applications, DIP Credit Agreement(s),
objections, responses, affidavits, declarations, complaints, pleadings, disclosure statements, plans
of reorganization or liquidation and other papers or documents), including but not limited to, any
amendments, modifications or supplements thereto (collectively, the “Chapter 11 Documents”);
and it is further

         RESOLVED, that any of the Authorized Officers, who may act without the joinder of any
other officer, director or manager, is hereby authorized to execute and deliver the Chapter 11
Documents in the name and on behalf of each of the Companies and otherwise to take all actions
(including, without limitation, (i) negotiate, execute, deliver, and file any agreement, certificate,
or other instrument or document, (ii) pay any retainer or consideration for any professional retained
by the Companies in the Chapter 11 Cases, and (iii) pay other expenses as any such Authorized
Officer may deem necessary, appropriate, or advisable (such acts to be conclusive evidence that
such Authorized Officer deemed the same to be necessary, appropriate, or advisable) in order to
commence and administer the Chapter 11 Cases, and all acts of the Authorized Officer taken
pursuant to the authority granted herein, or having occurred prior to the date hereof in order to
effect such transactions, are hereby approved, adopted, ratified, and confirmed in all respects; and
it is further

III.   Retention of Professionals

         RESOLVED, that the Governing Body hereby approves and ratifies the employment by
the Companies of the law firms of King & Spalding LLP (“K&S”) and Berger Singerman LLP
(“Berger Singerman”) to represent the Companies as their general bankruptcy counsel and to assist
the Companies in carrying out their duties under the Bankruptcy Code and all related matters, and
to take any and all actions appropriate to advance the Companies’ rights, including the preparation
of pleadings and filings in the Chapter 11 Cases; and in connection therewith, the Authorized
Officers be and each of them, acting alone or in any combination, hereby is, authorized, directed
and empowered, on behalf of and in the name of the Companies to execute appropriate retention
agreements with K&S and Berger Singerman, pay appropriate retainers to K&S and Berger
Singerman prior to and immediately upon the filing of the Chapter 11 Cases, and to cause to be
filed an appropriate application for authority to retain the services of K&S and Berger Singerman;
and it is further

        RESOLVED, that the Governing Body hereby approves and ratifies the employment by
the Companies of the firm AP Services, LLC (“APS”), to provide restructuring and other services
to the Companies, and to provide the services of an Interim Chief Executive Officer and certain

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support personnel, and in connection therewith, the Authorized Officers be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Companies to execute appropriate retention agreements with APS, pay
appropriate retainers to APS prior to and immediately upon the filing of the Chapter 11 Cases, and
to cause to be filed an appropriate application for authority to retain the services of APS; and it is
further

         RESOLVED, that the Governing Body hereby approves and ratifies the employment by
the Companies of the firm Jefferies LLC (“Jefferies”), as investment bankers to represent and
assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any and
all actions to advance the Companies’ rights and obligations; and in connection therewith, the
Authorized Officers be and each of them, acting alone or in any combination, hereby is, authorized,
directed and empowered, on behalf of and in the name of the Companies to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Jefferies; and it is further

        RESOLVED, that the Governing Body hereby approves and ratifies the employment by
the Companies of the firm Kroll Restructuring Administration LLC (“Kroll”) as notice and claims
agent to represent and assist the Companies in carrying out their duties under the Bankruptcy Code,
and to take any and all actions to advance the Companies’ rights and obligations; and in connection
therewith, the Authorized Officers be and each of them, acting alone or in any combination, hereby
is, authorized, directed and empowered, on behalf of and in the name of the Companies to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of Kroll; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Companies in carrying
out their duties under the Bankruptcy Code, and in connection therewith, the Authorized Officers
acting alone or in any combination, hereby are authorized, directed and empowered, on behalf of
and in the name of the Companies, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Cases, and cause to be filed
an appropriate application for authority to retain the services of such firms; and is further

IV.    Debtor-in Possession Financing

        RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed, and
empowered, on behalf of and in the name of the Companies, (A) to obtain post-petition financing
according to the terms negotiated by the senior management of the Companies, including under
debtor-in-possession credit facilities or relating to the use of cash collateral, and (B) to secure the
payment and performance of any post-petition financing by (i) pledging or granting liens and
mortgages on, or security interests in, all or any portion of the Companies’ assets, including all or
any portion of the issued and outstanding capital stock, partnership interests, or membership
interests of any subsidiaries of the Companies, whether now owned or hereafter acquired, and (ii)
entering into or causing to be entered into such security agreements, pledge agreements, control
agreements, intercreditor agreements, mortgages, deeds of trust and other agreements as are

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necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate or desirable by the Authorized
Officer executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval or determination; and it is further

        RESOLVED, that the form, terms, and provisions of the DIP Facility, the DIP Credit
Agreement, and each of the other DIP Facility Documents (as defined below), and the Companies’
incurrence and performance of their obligations under the DIP Facility, the DIP Credit Agreement,
and each of the other DIP Facility Documents (as defined below), including any borrowings
thereunder, granting of liens on, or security interests in, all or any portion of the Companies’ assets
as provided therein, and the consummation of the transactions contemplated thereby, be, and
hereby are, in all respects authorized and approved; and further resolved, that each of the
Authorized Officers be, and hereby is, authorized and empowered to execute and deliver, and to
cause the Companies to incur and perform their respective obligations under the DIP Facility and
the DIP Credit Agreement and each of the agreements, documents, and instruments contemplated
by any of the foregoing or requested by the DIP Facility lenders in connection with any of the DIP
Facility (together with the DIP Credit Agreement, the “DIP Facility Documents”), in the name and
on behalf of the Companies under their seals or otherwise, substantially in the forms presented to
the Governing Body, with such changes therein and modifications and amendments thereto as any
Authorized Officer may in his or her sole discretion approve, which approval shall be conclusive
evidenced by his or her execution thereof; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendments and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions, and extensions of
the DIP Facility and the DIP Facility Documents that shall in their sole judgment be necessary,
proper or advisable; and it is further

         RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Credit Agreement and any of the
other DIP Facility Documents be, and hereby are, in all respects confirmed, approved, and ratified;
and it is further

 V.    General Authorizations and Ratifications

        RESOLVED, that the Authorized Officers be, and each of them acting alone or in any
combination is, hereby authorized, directed and empowered from time to time in the name and on
behalf of the Companies, to (i) take such further actions and execute and deliver or cause to be
executed and delivered, where necessary or appropriate, file (or cause to be filed) with the
appropriate governmental authorities all such other certificates, instruments, guaranties, notices
and documents as may be required or as such Authorized Officer may deem necessary, advisable
or proper to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements and the like, (ii) perform
the obligations of the Companies under the Bankruptcy Code, the DIP Facility, the DIP Credit
Agreement, and any other DIP Facility Documents, with all such actions to be performed in such
manner, and all such certificates, instruments, guaranties, notices and documents to be executed

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and delivered in such form, as the Authorized Officer performing or executing the same shall
approve, and the performance or execution thereof by such Authorized Officer shall be conclusive
evidence of the approval thereof by such officer and by the Companies, and (iii) incur and pay
such fees, expenses and other amounts as in his, her or their judgment shall be necessary, proper
or advisable in order to fully carry out the intent and accomplish the purposes of each of the
foregoing resolutions; and it is further

        RESOLVED, that the Authorized Officers be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of each of the
Companies, to adopt resolutions and otherwise exercise the rights and powers of the Companies
as such Authorized Officer may deem necessary, appropriate or desirable; and that thereupon such
resolutions shall be deemed adopted as and for the resolutions of the applicable Companies; and it
is further

        RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts would have been approved by the foregoing resolutions except
that such actions were taken prior to the execution of these resolutions, are hereby in all respects,
confirmed, ratified and approved; and it is further

       RESOLVED, that these resolutions and actions shall be the actions of the Governing Body
of each Company. The Interim Chief Executive Officer of Holdco 6 is hereby directed to place
this Written Consent with the records of the proceedings of the Governing Body and with the
records of each Company; and it is further

       RESOLVED, that this Written Consent may be executed and delivered by electronic
transmission with the same effect as delivery of an original.

                               [SIGNATURES ON FOLLOWING PAGE]




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       IN WITNESS WHEREOF, the undersigned have caused this Written Consent to be duly
executed and delivered as of the date first above written.



                                                   __________________________________
                                                   Patrick J. Bartels Jr., in his capacities as
                                                   (i) a member of the Special Committee of
                                                   iAero Group Holdco 6 LLC; (ii) a director
                                                   of iAero Group Intermediate Inc., iAero
                                                   Group Bidco Inc., and AeroTech Miami
                                                   Inc. d/b/a iAero Tech; and (iii) a manager
                                                   of iAero Group Parent LLC, New Swift Air
                                                   Holdings, L.L.C., Swift Air, L.L.C. d/b/a
                                                   iAero Airways, Swift Air Travel, LLC,
                                                   iAero Thrust LLC, AeroThrust Holdings
                                                   Leasing, LLC, iAero Thrust Engine Test
                                                   Center, LLC, JAM Aerospace Parts, LLC,
                                                   AeroThrust Delta PBH, LLC, AeroThrust
                                                   Holdings Aircraft and Engine Leasing,
                                                   LLC, iAero 11 Investments LLC, and iAero
                                                   11B Investments LLC



                                                   __________________________________
                                                   James D. Decker, in his capacities as (i) a
                                                   member of the Special Committee of iAero
                                                   Group Holdco 6 LLC; (ii) a director of
                                                   iAero Group Intermediate Inc., iAero
                                                   Group Bidco Inc., and AeroTech Miami
                                                   Inc. d/b/a iAero Tech; and (iii) a manager
                                                   of iAero Group Parent LLC, New Swift Air
                                                   Holdings, L.L.C., Swift Air, L.L.C. d/b/a
                                                   iAero Airways, Swift Air Travel, LLC,
                                                   iAero Thrust LLC, AeroThrust Holdings
                                                   Leasing, LLC, iAero Thrust Engine Test
                                                   Center, LLC, JAM Aerospace Parts, LLC,
                                                   AeroThrust Delta PBH, LLC, AeroThrust
                                                   Holdings Aircraft and Engine Leasing,
                                                   LLC, iAero 11 Investments LLC, and iAero
                                                   11B Investments LLC




                            [Signature Page to Written Consent]
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       IN WITNESS WHEREOF, the undersigned have caused this Written Consent to be duly
executed and delivered as of the date first above written.



                                                   __________________________________
                                                   Patrick J. Bartels Jr., in his capacities as
                                                   (i) a member of the Special Committee of
                                                   iAero Group Holdco 6 LLC; (ii) a director
                                                   of iAero Group Intermediate Inc., iAero
                                                   Group Bidco Inc., and AeroTech Miami
                                                   Inc. d/b/a iAero Tech; and (iii) a manager
                                                   of iAero Group Parent LLC, New Swift Air
                                                   Holdings, L.L.C., Swift Air, L.L.C. d/b/a
                                                   iAero Airways, Swift Air Travel, LLC,
                                                   iAero Thrust LLC, AeroThrust Holdings
                                                   Leasing, LLC, iAero Thrust Engine Test
                                                   Center, LLC, JAM Aerospace Parts, LLC,
                                                   AeroThrust Delta PBH, LLC, AeroThrust
                                                   Holdings Aircraft and Engine Leasing,
                                                   LLC, iAero 11 Investments LLC, and iAero
                                                   11B Investments LLC



                                                   __________________________________
                                                   James D. Decker, in his capacities as (i) a
                                                   member of the Special Committee of iAero
                                                   Group Holdco 6 LLC; (ii) a director of
                                                   iAero Group Intermediate Inc., iAero
                                                   Group Bidco Inc., and AeroTech Miami
                                                   Inc. d/b/a iAero Tech; and (iii) a manager
                                                   of iAero Group Parent LLC, New Swift Air
                                                   Holdings, L.L.C., Swift Air, L.L.C. d/b/a
                                                   iAero Airways, Swift Air Travel, LLC,
                                                   iAero Thrust LLC, AeroThrust Holdings
                                                   Leasing, LLC, iAero Thrust Engine Test
                                                   Center, LLC, JAM Aerospace Parts, LLC,
                                                   AeroThrust Delta PBH, LLC, AeroThrust
                                                   Holdings Aircraft and Engine Leasing,
                                                   LLC, iAero 11 Investments LLC, and iAero
                                                   11B Investments LLC




                            [Signature Page to Written Consent]
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                                         Exhibit A

                                       Companies

              Company                                          Jurisdiction

      iAero Group Holdco 6 LLC                                  Delaware

       iAero Group Parent LLC                                   Delaware

     iAero Group Intermediate Inc.                              Delaware

        iAero Group Bidco Inc.                                  Delaware

 AeroTech Miami Inc. d/b/a iAero Tech                            Florida

    New Swift Air Holdings, L.L.C.                              Delaware

 Swift Air, L.L.C. d/b/a iAero Airways                           Arizona

         Swift Air Travel, LLC                                  Delaware

           iAero Thrust LLC                                      Florida

  AeroThrust Holdings Leasing, LLC                               Florida

 iAero Thrust Engine Test Center, LLC                            Florida

      JAM Aerospace Parts, LLC                                   Florida

     AeroThrust Delta PBH, LLC                                   Florida
AeroThrust Holdings Aircraft and Engine
                                                                 Florida
            Leasing, LLC
      iAero 11 Investments LLC                                  Delaware

      iAero 11B Investments LLC                                 Delaware




                              [Exhibit A to Written Consent]
